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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

GEORGIA COALITION FOR
THE PEOPLE’S AGENDA, INC., et
al.,

      Plaintiffs,                             CIVIL ACTION

v.                                            FILE NO. 1:18-CV-04727-ER

BRAD RAFFENSPERGER, in his
official capacity as Secretary of State
for the State of Georgia

      Defendant.


      Defendant Secretary of State BRAD RAFFENSPERGER files this

Answer and Defenses to the allegations of Plaintiffs’ Third Amended

Complaint as follows:

                              FIRST DEFENSE

      Plaintiffs’ Third Amended Complaint fails, in whole or in part, to state

a claim upon which relief may be granted.

                             SECOND DEFENSE

      Defendant denies that Plaintiffs have been subjected to the deprivation

of any right, privilege, or immunities under the Constitution or laws of the

United States.



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                               THIRD DEFENSE

      Plaintiffs’ claims are moot.

                             FOURTH DEFENSE

      Plaintiffs’ claims should be dismissed for lack of standing.

                                 RESPONSES

      Answering the specific allegations of the Third Amended Complaint,

Defendant responds as follows:

      1.      Defendant admits only that Plaintiffs have brought claims

pursuant to the First and Fourteenth Amendment, the Voting Rights Act,

and the National Voter Registration Act. All remaining allegations are

denied.

      2.      Defendant denies these allegations, including the allegations of

footnote 1 as stated. More specifically, Defendant denies that its citizenship

verification process is unlawful or that it denies active voter registration

status to qualified voters. Defendant further denies that its process targets

predominantly naturalized citizens for proof of citizenship. All applicants for

a Georgia driver’s license, whether naturalized citizens, natural born citizens,

or non-citizens, must provide DDS with evidence of their U.S. citizenship or

proof of lawful status. Unlike voter registration applicants that have

provided DDS with their documented proof of citizenship, voter registration

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applicants that are flagged as non-citizens by DDS have previously provided

evidence to DDS that they were not U.S. citizens.

      3.      Defendant denies this allegation as stated. Defendant lacks

knowledge or information sufficient to respond to the allegation that tens of

thousands individuals become naturalized citizens in Georgia each year.

Defendant denies that its process is fatally flawed. Georgia has implemented

an automated voter registration system through DDS. Therefore, when a

newly naturalized citizen updates their driver’s license, a new voter

registration application – without a citizenship flag – is generated and the

voter is added to the active voter list, even if the applicant had previously

applied and been placed on the pending list for proof of citizenship.

      4.      Defendant denies these allegations as stated. Registration

applicants in pending status may vote a regular ballot by providing proof of

citizenship prior to or on the day of election, and may vote a provisional ballot

on Election Day and return within three days after the election with their

proof of citizenship. All other registrants that have a Georgia driver’s license

provided their proof of citizenship to DDS at the time their license was

issued.

      5.      Defendant denies these allegations. Defendant admits only that

persons identified by DDS as having provided evidence of non-citizenship to

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DDS are flagged and must present proof of citizenship to remove the flag and

move from the pending list to the active voter list. These voter registration

applicants are permitted to cast a ballot even while in pending status. See

no. 4 above. A documentary proof of citizenship is imposed on all other

registrants with a Georgia driver’s license, including natural-born citizens,

through the driver’s license application process.

      6.    Defendant denies these allegations as stated. Defendant further

denies that the citizenship verification process used today is the same as that

described in 2008.

      7.    Defendant denies the allegations as stated. Defendant further

denies that the citizenship verification process used today is the same as that

described in 2008.

      8.    Defendant denies these allegations. Defendant further denies

that the citizenship verification process used today is the same as that

described in 2008.

      9.    Defendant denies these allegations.

      10.    Defendant denies these allegations.

      11.    Defendant denies these allegations.

      12.    Defendant admits only that the numbers reported by Plaintiffs

as pending due to prior evidence of non-citizenship are correct. All remaining

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allegations are denied, including Plaintiffs’ suggestion of the proper

comparator.

      13.     Defendant denies these allegations as stated. Defendant denies

that its process is onerous. Defendant admits that with its citizenship

verification process non-citizen voting in Georgia is not common.

      14.     Defendant denies these allegations.

      15.     Defendant denies these allegations as stated. Defendant admits

only that the verification process relies solely on DDS data, but denies

Plaintiffs’ characterization of said data.

      16.     Defendant denies these allegations.

      17.     Defendant denies these allegations.

      18.     Defendant admits these allegations.

      19.     Defendant admits these allegations.

      20.     Defendant admits that Plaintiff is a nonprofit organization.

Defendant lacks knowledge or information sufficient to respond to the

remaining allegations contained in paragraph 20.

      21.     Defendant admits that Plaintiff is a nonprofit organization.

Defendant lacks knowledge or information sufficient to respond to the

remaining allegations contained in paragraph 21.




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     22.     Defendant admits that Plaintiff is a nonprofit organization.

Defendant lacks knowledge or information sufficient to respond to the

remaining allegations contained in paragraph 22.

     23.     Defendant admits that Plaintiff is a nonprofit organization.

Defendant lacks knowledge or information sufficient to respond to the

remaining allegations contained in paragraph 23.

     24.     Defendant admits that Plaintiff is a nonprofit organization.

Defendant lacks knowledge or information sufficient to respond to the

remaining allegations contained in paragraph 24.

     25.     Defendant admits that Plaintiff is a nonprofit organization.

Defendant lacks knowledge or information sufficient to respond to the

remaining allegations contained in paragraph 25.

     26.     Defendant admits that Plaintiff is a nonprofit organization.

Defendant lacks knowledge or information sufficient to respond to the

remaining allegations contained in paragraph 26.

     27.     Defendant admits that Plaintiff is a nonprofit organization.

Defendant lacks knowledge or information sufficient to respond to the

remaining allegations contained in paragraph 27.

     28.     Defendant admits that Plaintiff Cruz is a registered voter in

Gwinnett County, has successfully voted in Gwinnett County elections prior

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to 2020, and was able to vote in the June, 9 2020 election. Defendant lacks

knowledge or information sufficient to respond to the remaining allegations

contained in paragraph 28.

      29.    Defendant admits that Brad Raffensperger is Georgia’s

Secretary of State. The remaining allegations characterizing Defendant’s

statutory duties are conclusions of law to which no response is required and

Defendant responds that the statutes speak for themselves.

      30.    The allegation in paragraph 30 is a legal conclusion to which no

response is required. To the extent that a response is required, Defendant

responds that the statute speaks for itself.

      31.    The allegation in paragraph 31 is a legal conclusion to which no

response is required. To the extent that a response is required, Defendant

responds that the statute speaks for itself.

      32.    Defendant admits these allegations.

      33.    Defendant denies the allegation as stated, but admits that its

documentary proof of citizenship requirement is enforced exclusively through

its verification process with DDS.

      34.    The allegation in paragraph 34 is a legal conclusion to which no

response is required. To the extent that a response is required, Defendant

responds that the statute speaks for itself.

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      35.    The allegation in paragraph 35 is a legal conclusion to which no

response is required. To the extent that a response is required, Defendant

responds that the statute speaks for itself.

      36.    The allegations in paragraph 36 purport to characterize the

requirements and meaning of a federal statute, and the meaning of a statute

is a conclusion of law as to which no response is required. To the extent that

a response is required, Defendant responds that the statute speaks for itself.

      37.    The allegations in paragraph 37 purport to characterize the

requirements and meaning of a federal statute, and the meaning of a statute

is a conclusion of law as to which no response is required. To the extent that

a response is required, Defendant responds that the statute speaks for itself.

      38.    The allegations in paragraph 38 purport to characterize the

requirements and meaning of a federal statute, and the meaning of a statute

is a conclusion of law as to which no response is required. To the extent that

a response is required, Defendant responds that the statute speaks for itself.

      39.    The allegations in paragraph 39 purport to characterize the

requirements and meaning of two federal statutes, and the meaning of a

statute is a conclusion of law as to which no response is required. To the

extent that a response is required, Defendant responds that the statutes

speak for themselves.

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      40.      Defendant admits only that HB 316 was enacted in April, 2019.

Defendant denies all remaining allegations.

      41.      Defendant denies these allegations as stated. Defendant admits

only that voter-registration applicants that have submitted evidence of non-

citizenship to DDS are required to provide proof of citizenship prior to

obtaining active voter registration status. Defendant denies all remaining

allegations.

      42.      Defendant denies these allegations.

      43.      Defendant denies these allegations as stated. Defendant admits

only that at some periods in the past, DDS issued drivers licenses to

permanent residents that lasted five years, but during other periods licenses

for permanent residents were limited to one year. Defendant lacks

knowledge or information sufficient to respond to Plaintiffs’ allegations

regarding statistics from the Department of Homeland Security. Defendant

denies all remaining allegations.

      44.      Defendant denies these allegations.

      45.      Defendant admits only that the numbers reported by Plaintiffs

as pending due to prior evidence of non-citizenship are correct. Defendant

denies all remaining allegations, including Plaintiffs’ suggestion of the proper

comparator.

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      46.     Defendant denies the allegation as stated. Defendant admits

only that voter-registration applicants that have submitted evidence of non-

citizenship to DDS are required to provide proof of citizenship prior to

obtaining active voter registration status.

      47.     Defendant denies these allegations.

      48.     Defendant denies that its citizenship verification process is

discriminatory. Defendant lacks knowledge or information sufficient to

respond to Plaintiffs’ characterization of other states’ programs.

      49.     Defendant lacks knowledge or information sufficient to respond

to Plaintiffs’ characterization of other states’ programs. To the extent

Plaintiffs’ allegations seek to interpret a district court case, the allegation

seeks a legal conclusion to which no response is needed. To the extent a

response is needed, Defendant states that the case speaks for itself.

      50.     Defendant lacks knowledge or information sufficient to respond

to Plaintiffs’ characterization of other states’ programs. To the extent

Plaintiffs’ allegations seek to interpret a district court case, the allegation

seeks a legal conclusion to which no response is needed. To the extent a

response is needed, Defendant states that the case speaks for itself.

      51.     Defendant denies the allegations as stated. More specifically,

Defendant denies that its processes are flawed.

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      52.      Defendant denies these allegations as stated. More specifically,

Defendant denies that requiring proof of citizenship is “harsh and

discriminatory.” Defendant further denies that letters requesting voter-

registration applicants to provide proof of citizenship are intimidating.

      53.      Defendant denies these allegations. Where copies of

naturalization forms are included with voter-registration applications, the

citizenship verification process with DDS will not override the election

official’s entry of the citizenship question.

      54.      Defendant denies these allegations.

      55.      Defendant denies that registration applicants only receive one

notification that they must provide documentary proof of citizenship.

Applicants receive a letter when they are first flagged through the

verification process with DDS. Applicants also receive notice via the

Secretary of State’s website and through election officials. Many applicants

have been sent multiple letters. Defendant admits that only Gwinnett

County is covered by Section 203 of the Voting Rights Act. Plaintiffs’

recitation of data published by the Election Assistance Commission requires

no response as the data speaks for itself. Defendant denies all remaining

allegations.




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      56.      Defendant admits only that applicants flagged for citizenship

must provide proof of citizenship prior to receiving a regular ballot, but these

applicants can vote a provisional ballot, and that ballot will be counted if

proof of citizenship is submitted electronically, by mail, or in person within

three days after Election Day. Defendant denies all remaining allegations.

      57.      Defendant admits only that Defendant has notified all election

officials of this Court’s November, 2018 Order. Defendant denies all

remaining allegations, including that the process expressly requested by the

Plaintiffs and Ordered by this Court, intimidates voters, and discourages

their participation in future elections.

      58.    Defendant denies these allegations. Defendant is not imposing

a twenty-six month cancellation deadline and does not intend to impose such

a requirement in the future.

      59.    Defendant denies these allegations.

      60.    Defendant denies these allegations. See no. 58 above. To the

extent Plaintiff is interpreting a House Report, the allegations seek a legal

conclusion to which no response is needed. To the extent a response is

needed, Defendant states that the House Report speaks for itself.

      61.    Defendant denies these allegations.

      62.    Defendant denies these allegations.

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          63.   Defendant denies these allegations.

          64.   Defendant lacks knowledge or information sufficient to respond

to these allegations. Defendant responds further that the allegations in

paragraph 64 of the Third Amended Complaint purport to report data from

the 2017 American Community Survey (ACS) and the ACS report speaks for

itself.

          65.   Defendant lacks knowledge or information sufficient to respond

to these allegations. Defendant responds further that the allegations in

paragraph 65 of the Third Amended Complaint purport to report data from

the 2017 American Community Survey (ACS) and the ACS report speaks for

itself.

          66.   Defendant lacks knowledge or information sufficient to respond

to these allegations. Defendant responds further that the allegations in

paragraph 66 of the Third Amended Complaint purport to report data from

the 2017 American Community Survey (ACS) and the ACS report speaks for

itself.

          67.   Defendant lacks knowledge or information sufficient to respond

to these allegations. Defendant responds further that the allegations in

paragraph 67 of the Third Amended Complaint purport to report data from




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the 2017 American Community Survey (ACS) and the ACS report speaks for

itself.

          68.   Defendant denies these allegations.

          69.   Defendant denies these allegations.

          70.   Defendant admits the allegation in the first sentence of

paragraph 70. Defendant lacks knowledge or information sufficient to

respond to the remaining allegations.

          71.   Defendant lacks knowledge or information sufficient to respond

to these allegations and therefore they are denied.

          72.   The allegations in paragraph 72 of the Third Amended

Complaint purport to quote and characterize certain court decisions and

Defendant responds that the contents of these decisions speak for themselves.

          73.   Defendant denies the first sentence in paragraph 73 of the Third

Amended Complaint. The remaining allegation in paragraph 73

characterizes the congressional record supporting the reauthorization of the

Voting Rights Act and Defendant responds that the congressional record

speaks for itself.

          74.   The allegations in paragraph 74 purport to characterize the

requirements of a 2005 state law and therefore seeks a legal conclusion to




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which no response is needed. To the extent a response is needed, Defendant

states that the former state law speaks for itself.

      75.    Defendant denies that the Georgia Secretary of State’s office has

a history of hostility toward third-party voter registration activity. Upon

information and belief, Defendant admits only that organizations that

identify themselves as serving communities of color are responsible for a

substantial portion of the third-party voter registration activity in Georgia.

      76.    Defendant lacks knowledge or information sufficient to respond

to these allegations and therefore they are denied.

      77.    Defendant admits only that in 2016, legislation was introduced

in the Georgia Senate to make English the state’s official language and the

measure was not enacted. Defendant denies Plaintiffs’ characterization of

the effect of the proposed measure on federal law and further states that, at

that point in 2016, federal law did not require bilingual ballots in any

Georgia election. Defendant lacks knowledge or information sufficient to

respond to the allegation in the last sentence of paragraph 76 and therefore

these allegations are denied.

      78.    Defendant denies these allegations.

      79.    Defendant denies these allegations as stated. The initial effort

to comply with the verification requirements of HAVA began in October,

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2007. See Morales v. Handel, 2008 U.S. Dist. LEXIS 124182, *25, CA No.

1:08-CV-3172 (N.D. Ga. Oct. 27, 2008) (describing that “Georgia only began to

comply with the voter verification provisions of HAVA in March of 2007,

when the Secretary entered into an information-sharing agreement with the

DDS.”). The allegation in the second sentence of paragraph 79 characterizes

a court opinion, and Defendant responds that the court opinion speaks for

itself.

          80.   Defendant admits only that in 2009 the U.S. Department of

Justice interposed an Objection, under Sec. 5 of the Voting Rights Act, to a

prior effort by Georgia to comply with the HAVA verification requirements.

The remaining allegations in paragraph 80 describe the letter from the

Department of Justice, and Defendant responds that the letter speaks for

itself.

          81.   The allegations in this paragraph describe a letter from the

Department of Justice, and Defendant responds that the letter speaks for

itself. The allegations of paragraph 81 that characterize the letter do not

require a response.

          82.   Defendant admits that the state’s HAVA verification process

was precleared by the U.S. Department of Justice in 2010. Defendant denies

all remaining allegations.

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      83.    Defendant admits only that in 2016 the Secretary of State

entered into a settlement agreement with Plaintiffs regarding a prior HAVA

verification process. See Doc. 34-1. The settlement agreement speaks for

itself. Defendant denies all remaining allegations.

      84.    Defendant admits only that HB 268 (2017) provided a twenty-

six month deadline for registration applicants to cure HAVA verification

issues while allowing those applicants to cure any issues at the polls and vote

a regular ballot. The HAVA verification process outlined in the settlement

between the parties, Doc. 34-1, was otherwise unchanged. HB 268 makes no

mention of citizenship. Defendant denies all remaining allegations.

      85.    Defendant admits only that HB 316 (2019) repealed certain

portions of HB 268. Defendant denies that its citizenship verification process

is unlawful and denies the remaining allegations.

      86.    Defendant denies that the citizenship verification process is

discriminatory. Defendant admits only that HB 316, like HB 268, makes no

mention of the citizenship verification process. Defendant denies the

remaining allegations.

      87.    Defendant lacks knowledge or information sufficient to respond

to the allegations in the first sentence of paragraph 87. Defendant responds




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further that the remainder of paragraph 87 is a characterization of reported

court cases and these cases speak for themselves.

      88.      Defendant denies that currently all current statewide elected

officials are White. Defendant denies that African-American voters are

underrepresented in the Georgia House of Representatives, Georgia Senate,

and the U.S. House of Representatives. Defendant denies the remaining

allegations.

      89.      Defendant admits only that Georgia has a majority-vote

requirement for most, but not all, elections. Defendant lacks sufficient

knowledge and information to form an opinion as to the remaining

allegations in paragraph 89.

      90.      Defendant denies that the current citizenship verification

process denies voter registration to any qualified voter applicant. Defendant

admits that with its citizen verification process non-citizen voting in Georgia

is not common. Defendant denies the remaining allegations.

      91.      Defendant denies these allegations.

      92.      Defendant denies these allegations.

      93.      No response is needed for paragraph 93 of the Third Amended

Complaint.




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      94.     Defendant admits only that the quoted text accurately quotes

Sec. 2 of the Voting Rights Act. Plaintiffs’ characterizations of the protections

of Sec. 2 are legal conclusions and Defendant responds that the statute

speaks for itself.

      95.     Defendant denies these allegations.

      96.     Defendant denies these allegations.

      97.     Defendant denies these allegations.

      98.     Defendant denies these allegations.

      99.     Defendant denies these allegations.

      100.    Defendant denies these allegations.

      101. No response is needed for paragraph 101 of the Third Amended

Complaint.

      102. The allegations in this paragraph are legal conclusions regarding

certain constitutional provisions for which no response is needed. To the

extent a response is needed, Defendant responds that the constitutional

provisions speak for themselves.

      103. The allegations in this paragraph are legal conclusions regarding

certain constitutional provisions and Defendant responds that the

constitutional provisions speak for themselves.

      104. Defendant denies these allegations.

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      105. Defendant denies these allegations.

      106. Defendant denies these allegations.

      107. Defendant denies these allegations.

      108. No response is needed for paragraph 108 of the Third Amended

Complaint.

      109. The allegations in paragraph 109 of the Third Amended

Complaint are legal conclusions regarding certain constitutional protections

and Defendant responds that the constitutional provisions and cases cited

speak for themselves.

      110. Defendant denies that the citizenship verification process

imposes severe burdens on the right to vote and denies that the citizenship

verification process is discriminatory. The remaining allegations in this

paragraph are legal conclusions and Defendant responds that the cited cases

speak for themselves and denies any remaining allegations.

      111. Defendant denies these allegations.

      112. Defendant denies these allegations.

      113. Defendant denies these allegations.

      114. Defendant denies these allegations.

      115. Defendant denies these allegations.

      116. Defendant denies these allegations.

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      117. No response is needed for paragraph 117 of the Third Amended

Complaint.

      118. Defendant admits only that the quoted text accurately quotes

certain language in the NVRA. No further response is required and to the

extent that further response is deemed required, Defendant responds that the

statute speaks for itself.

      119. The allegations in paragraph 119 of the Third Amended

Complaint are legal conclusions and Defendant responds that the NVRA

speaks for itself.

      120. The allegations in paragraph 120 of the Third Amended

Complaint are legal conclusions and Defendant responds that the NVRA and

congressional record speak for themselves.

      121. Defendant denies these allegations.

      122. The allegations in paragraph 122 of the Third Amended

Complaint are legal conclusions and Defendant responds that the text of the

NVRA speaks for itself.

      123. Defendant denies these allegations.

      124. Defendant admits only the first two sentences in paragraph 124

of the Third Amended Complaint. Defendant denies all remaining

allegations.

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                   RESPONSE TO PRAYER FOR RELIEF

      Defendant denies any and all other allegations in the Third Amended

Complaint not referred to herein, denies all prayers for relief of the Third

Amended Complaint, and denies that Plaintiffs are entitled to any relief in

this case.



      WHEREFORE, Defendant respectfully requests that the Court dismiss

this action in its entirety.

      Respectfully submitted this 7th day of August, 2020.

                                      Christopher M. Carr
                                      Attorney General
                                      Georgia Bar No. 112505
                                      Bryan K. Webb
                                      Deputy Attorney General
                                      Georgia Bar No. 743580
                                      Russell D. Willard
                                      Senior Assistant Attorney General
                                      Georgia Bar No. 760280
                                      State Law Department
                                      40 Capitol Square, S.W.
                                      Atlanta, Georgia 30334

                                      /s/ Bryan P. Tyson
                                      Bryan P. Tyson
                                      Special Assistant Attorney General
                                      Georgia Bar No. 515411
                                      btyson@taylorenglish.com
                                      Bryan F. Jacoutot
                                      Georgia Bar No. 668272


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                             bjacoutot@taylorenglish.com
                             Diane Festin LaRoss
                             Georgia Bar No. 430830
                             dlaross@taylorenglish.com
                             Loree Anne Paradise
                             Georgia Bar No. 382202
                             lparadise@taylorenglish.com
                             Taylor English Duma LLP
                             1600 Parkwood Circle
                             Suite 200
                             Atlanta, GA 30339
                             Telephone: 678-336-7249


                             Counsel for Defendant Secretary of
                             State Brad Raffensperger




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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing ANSWER AND DEFENSES TO PLAINTIFFS’ THIRD AMENDED

COMPLAINT has been prepared in Century Schoolbook 13, a font and type

selection approved by the Court in L.R. 5.1(B).

                                           /s/ Bryan P. Tyson
                                           Bryan P. Tyson




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